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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

IN RE APPLICATION OF BANCO MERCANTIL
DE NORTE, S.A., INSTITUCION DE BANCA
MULTIPLE, GRUPO FINANCIERO BANORTE
AND ARRENDADORA Y FACTOR BANORTE,
S.A. DE C.V,, SOCIEDAD FINANCIERA DE
OBJETO MULTIPLE, GRUPO FINANCIERO
BANORTE,

Applicants, Misc. No. 3:23mc08 (DJN)
FOR AN ORDER PURSUANT TO 28 U.S.C. § 1782
TO OBTAIN DISCOVERY IN AID OF FOREIGN
PROCEEDINGS

MEMORANDUM OPINION

This matter comes before the Court on Cartograf USA, Inc.’s (“Cartograf USA” or “the
Company”) Motion to Quash the Subpoena, (““Motion” (ECF No. 16)). On August 22, 2023, the
Court granted the ex parte Application for an Order Pursuant to 28 U.S.C. § 1782 to Obtain
Discovery for Use in Foreign Proceedings, (the “Application” (ECF No. 1)), filed by Banco
Mercantil del Norte, S.A., Institutcién de Banca Multiple, Grupo Financiero Banorte (““Banorte”)
and Arrendadora y Factor Banorte, S.A. de C.V., Sociedad Financiera de Objeto Multiple, Grupo
Financiero Banorte (“Banorte A&F” and, together with Banorte, the “Banorte Parties”). (ECF
No. 9.) On September 12, 2023, Cartograf USA filed its Motion to Quash the Subpoena in lieu
of compliance. For the following reasons, the Court will DENY Cartograf USA’s Motion,
except with respect to Cartograf USA’s tax records, which the Court will shield from disclosure

at this juncture.
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I. BACKGROUND

On July 17, 2023, the Banorte Parties filed their Application for subpoenas requiring
three Virginia-based entities — Cartograf USA, Timmons Group, Inc. (the “Timmons Group”)
and the Economic Development Authority of the County of Chesterfield (the “EDA”) — to
produce testimony and documentary evidence relevant to “ongoing and forthcoming proceedings
in Mexico.” (ECF No. 1, at 1-2.) Those proceedings concern the Banorte Parties’ allegations
that Juan José Paramo Riestra (“Paramo”’) and his company, Cartograf, $.A. de C.V.
(“Cartograf”), defrauded the Banorte Parties of millions of dollars by “enter[ing] into a series of
financial agreements and promissory notes with the Banorte parties” before subsequently
absconding with “a large portion of the money” borrowed. (ECF No. 2, at 2-4.) The Banorte
Parties sought documents and testimony which they contended will shed light on the mechanics
of Paramo’s alleged scheme to defraud and his “continued concealment of funds” from the
Mexican courts. (/d. at 8.)

The Court granted the Application. (ECF No. 9.) First, the Court confirmed its authority
under 28 U.S.C. § 1782(a) to determine whether subpoenas shall issue for gathering evidence for
use in foreign tribunals. (/d. at 2.) Next, the Court found that the Banorte Parties satisfied each
of the § 1782(a) requirements for a federal court to grant such assistance: whether (1) the person
from whom the discovery is sought resides or is found in the district of the district court to which
application is made; (2) the discovery is for use in a proceeding before a foreign tribunal; and (3)
the application is made by a foreign or international tribunal or “any interested person.” (Jd. at
2-3.) Finally, the Court addressed the discretionary factors, set forth by the Supreme Court in
Intel Corp. v. Advanced Micro Devices, 542 U.S. 241 (2004), that guide the Court’s application

of § 1782(a):
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“(1) whether the person from whom discovery is sought is a participant in the foreign
proceeding; (2) the nature of the foreign tribunal, the character of the proceedings
underway abroad, and the receptivity of the foreign government or the court or agency
abroad to U.S. federal-court judicial assistance; (3) whether the Section 1782 request
‘conceals an attempt to circumvent foreign proof-gathering restrictions or other policies

of a foreign country or the United States;’ and (4) whether the proposed discovery
requests are ‘unduly intrusive or burdensome.’”

Inre P.T.C. Prod. & Trading Co., AG, 2020 WL 7318100, at *2 (W.D.N.C. Dec. 11, 2020)

(quoting Intel, 542 U.S. at 264-65). The Court concluded that all four factors counseled in favor

of granting the Application and issuing the subpoenas. (ECF No. 9, at 3-5.)

On September 12, 2023, Cartograf USA filed its Motion in lieu of compliance, along
with a Memorandum in Support. (ECF Nos. 16, 17.) Cartograf USA makes three primary
arguments. First, Cartograf USA argues that the Banorte Parties fail to satisfy the second
statutory requirement under § 1782(a), i.e., that the requested discovery is “for use” in a
proceeding before a foreign tribunal.' (Mem. in Supp. of Cartograf USA’s Mot. to Quash
Subpoena (“Mem.”) at 2) (ECF No. 17).) Second, Cartograf USA argues that production of the
documents or testimony here would implicate Cartograf USA’s right against self-incrimination
in Mexico and therefore would violate a legal privilege, in contravention of § 1782(a). (/d. at 6.)
Third, Cartograf USA argues that the Banorte Parties cannot meet the Jntel discretionary factors.

(Id. at 2.)

The parties do not dispute that the first and third § 1782(a) requirements are met. (ECF
No. 21, at 5.)

2 Cartograf USA also highlights that Banorte Parties filed a separate § 1782 Application in
the United States District Court for the Southern District of Texas (“the Texas Application”).
(ECF No. 17-1.) In Cartograf USA’s telling, the Texas Application indicates that the Banorte
Parties “are casting a broad net in a fishing expedition that is neither particular nor proportional
to Banorte’s stated needs” in this case. (Mem. at 5.) Because the Motion at issue here concerns
the Application that this Court granted, and as resolution of this Motion does not implicate the
Texas Application, the Court refrains from further discussion of the Texas Application at this
juncture. See 28 U.S.C. § 1782(a) (“The district court of the district in which a person resides or
is found may order him to give his testimony or statement or to produce a document or other

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On September 26, 2023, the Banorte Parties filed their Opposition to Cartograf USA’s
Motion, arguing that the Court should deny the Motion and allow discovery to proceed. (ECF
No. 21.) On October 2, 2023, Cartograf USA filed its Reply, rendering Cartograf USA’s Motion
to Quash the Subpoena ripe for review. (ECF No. 23.)

II. STANDARD OF REVIEW

The Court confronts a motion to quash a subpoena issued pursuant to 28 U.S.C. § 1782, a
statute that “represents nearly 150 years of efforts by Congress to encourage collaboration with
foreign tribunals.” In re Newbrook Shipping Corp., 31 F.4th 889, 894 (4th Cir. 2022). “Section
1782 affords the district courts wide discretion in responding to requests for assistance in
proceedings before foreign tribunals.” In re Naranjo, 768 F.3d 332, 347 (4th Cir. 2014) (quoting
Al Fayed v. United States, 210 F.3d 421, 424 (4th Cir.2000)). As noted above, § 1782(a)
imposes three mandatory requirements that a federal court must conclude are met before granting
a subpoena pursuant to § 1782(a): (1) the person from whom the discovery is sought resides or
is found in the district of the district court to which application is made; (2) the discovery is for
use in a proceeding before a foreign tribunal; and (3) the application is made by a foreign or
international tribunal or “any interested person.” 28 U.S.C. § 1782(a); Intel, 542 U.S. at 246.

If the Court finds that the party requesting the subpoena satisfies these statutory
requirements, then the Court “retains discretion in granting or denying these orders” based on an
equity-like balancing test. Jn re Newbrook, 31 F Ath at 896. This test requires that the Court pay

“particular attention to the four factors identified in Intel:

thing for use in a proceeding in a foreign or international tribunal, including criminal
investigations conducted before formal accusation.”) (emphasis added). As Cartograf USA
acknowledges, the Company “is a Delaware corporation that is registered to conduct business in
Virginia.” (Mem. at 3.)
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(1) the involvement of ‘the person from whom discovery is sought’ in the foreign

proceeding, (2) ‘the nature of the foreign tribunal, the character of the proceedings

underway abroad, and the receptivity of the foreign government, court or agency to U.S.

federal-court judicial assistance,’ (3) ‘whether the § 1782(a) request conceals an attempt

to circumvent foreign proof-gathering restrictions or other policies of a foreign country or

the United States,’ and (4) whether the request is ‘unduly intrusive or burdensome’ in

which case it ‘may be rejected or trimmed.’”
Id. (quoting Intel, 524 U.S. at 264-65). “The ultimate balance” of the Intel factors “remains well
within the district court’s broad discretion and addresses common discovery concerns.” Jn re
Newbrook, 31 F.4th at 896. Indeed, “Jntel does not mandate that every factor support a court’s
exercise of discretion or that all factors need even be considered.” See In re Eli Lilly & Co., 37
F.4th 160, 168 (4th Cir. 2022) (holding that a district court did not abuse its discretion in heavily
weighing two of the four Jnte/ factors when it denied a § 1782(a) discovery application)
(emphasis added). Instead, /nte/ “provided the factors to illuminate considerations relevant to
the decision of whether to authorize assistance for use in proceedings before a foreign tribunal.”
Td.

lil, ANALYSIS

The Court therefore begins its analysis with the mandatory § 1782(a) factors. For the
following reasons, the Court finds that the Banorte Parties have satisfied these mandatory
requirements for granting discovery here. The Court then exercises its discretion to examine the
four Intel factors and decides that their “ultimate balance” weighs toward the Banorte Parties. Jn
re Newbrook, 31 F.4th at 896.

A. Mandatory § 1782(a) Factors

Regarding the first mandatory § 1782(a) requirement, as the Court already determined in

its August 22, 2023 order, (ECF No. 9, at 2), Cartograf USA — the relevant target of the

requested discovery — can be found in this District. Cartograf USA acknowledges that it “is a
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Delaware corporation that is registered to conduct business in Virginia,” while also stating that it
“is not actively conducting business in the United States.” (Mem. at 3.) The Company states
that although it purchased land in Chesterfield County, Virginia to build a manufacturing facility,
“construction for the facility was never finished.” (/d.) But Cartograf USA does not outright
argue that the Banorte Parties fail to meet the first statutory § 1782(a) requirement, i.e., that the
Company is located within this District, and the Court sees no reason to disturb its prior finding
on this factor. See In re Newbrook Shipping Corp., 620 F. Supp. 3d 298, 308 (D. Md. 2022)
(analyzing only the mandatory § 1782(a) requirements that presented an actual dispute between
the parties). The Company bought land in Chesterfield County, possesses a partially constructed
manufacturing facility there and is registered to conduct business in Virginia. (Mem. at 3); see
Inre Eli Lilly., 37 F.4th at 166 (approvingly citing Black's Law Dictionary (3d ed. 1933), for
defining “found” with respect to a corporation “as requiring that the corporation ‘be doing
business in such state through an officer or agent or by statutory authority in such manner as to
render it liable then to suit and to constructive or substituted service of process’”) (emphasis
added). Cartograf USA can be “found” in this District.

The Parties also do not dispute the third mandatory § 1782(a) requirement, i.e., that the
Banorte Parties constitute “interested person[s]” in a foreign proceeding. As the Court already
found, the Banorte Parties satisfy this condition, because they constitute parties to a civil action
before the Fourth Civil Court of Mexico City. (ECF No. 9, at 2.); see Intel, 542 U.S. at 256 (a
“litigant” is “included among, and may be the most common example of, the ‘interested
person{s]’ who may invoke § 1782... .”).

Cartograf USA does, however, argue that the Banorte Parties fail to satisfy the second

mandatory § 1782(a) requirement, i.e., that the discovery is “for use” in a legal proceeding
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before a foreign tribunal. (Mem. at 6-8.) To satisfy this condition, “the evidence sought must be
‘for use’ in a foreign proceeding,” and the Court “must find that there is a reasonable possibility
that the evidence sought ‘will be employed with some advantage or serve some use in the
proceeding.’” In re Newbrook, at 895. Where a party identifies both an ongoing foreign action
and a proposed foreign action as bases for satisfying this condition, the Fourth Circuit has held
that a district court should ensure that the proposed action is not “too speculative” to qualify as a
“proceeding.” Jd. However, if a party has identified a particular foreign proceeding, the party
does not necessarily fail this statutory condition by having not yet filed a lawsuit. See, e.g., In re
Rivada Networks, 230 F. Supp. 3d 467, 469 (E.D. Va. 2017) (noting that the magistrate judge
approved § 1782(a) subpoenas where the sought-after information qualified as relevant to both a
constitutional appeal and a “potential civil lawsuit in Mexico”) (emphasis added). .

Cartograf USA contends that the Banorte Parties fail the “for use” requirement, arguing
that they have not stated what information they expect to find from certain documents, such as
corporate filings, and have failed to specify how they would use the discovery materials in
criminal or civil proceedings in Mexico. (Mem. at 6.) The Banorte Parties counter that they
have provided the Court with details of the relevant civil proceedings in Mexico, including the
Banorte Parties’ civil proceedings to freeze Cartograf Mexico’s assets, to seek enforcement of
alleged promissory notes and contracts and to obtain alleged contract-based damages. (Banorte
Parties’ Mem. in Opp. to the Mot. to Quash Subpoena, (“Opp.”) (ECF No. 21) at 3, 6.) Indeed,
the Application laid out an alleged fraudulent scheme committed by Péaramo, whom the
Application described as “the sole administrator and legal representative of Cartograf,” (ECF No.
2, at 3); identified the specific civil proceedings in Mexico at issue and the information sought

from Cartograf USA, (id. at 7-9); and explained why the information would be relevant and
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necessary to the ongoing legal proceedings in Mexico. In particular, the Application stated the
following:

This information is thus relevant and necessary to the ongoing legal proceedings in

Mexico, as it will assist the Mexican courts in ascertaining the location of the funds the

Banorte Parties are contractually entitled to, both under the agreements between the

parties and as a consequence of the freezing of assets decreed by the Mexican courts.

The discovery sought here is also relevant to understanding Mr. Péramo’s and

Cartograf’s transfers of assets to evade their obligations to the Banorte Parties. Such

information will assist the Mexican courts in understanding the facts surrounding the

fraud perpetrated against the Banorte Parties, supporting the Mexican Proceedings, and

enforcing the asset-freezing and turnover orders issued by the Mexican courts.
(id. at 9.) In addition, the Banorte Parties contend that “Cartograf USA has been used by Mr.
Paéramo to conceal assets belonging to Cartograf and which would otherwise be subject to the
Mexican courts’ orders. (/d.) Therefore, the Court finds that “a reasonable possibility” exists
that the detailed information regarding Cartograf USA’s business, including its bank account,
assets and documents related to its relationship with its parent company, among other items
sought by the Application,? could provide “some advantage or serve some use” to the Banorte
Parties in prosecuting their civil claims against Paramo and pursuing related assets. Jn re
Newbrook, 31 F Ath at 895.

Cartograf USA makes much of the fact that the Application provides scant details about a
criminal complaint that the Banorte Parties have allegedly initiated against Cartrograf Mexico,
arguing that the Banorte Parties’ alleged “lack of candor” about this complaint merits quashing
the subpoena. (Mem. at 6—7; Cartograf USA’s Reply Br. in Further Supp. of its Mot. to Quash
(“Reply”), (ECF No. 23), at 4.) To be sure, other than a passing reference to the fact that “a

criminal complaint has been filed based on the fraud perpetrated by Mr. Paramo and Cartograf,”

3 The Court closely examines infra Cartograf USA’s argument that the tax records fall
under a qualified privilege.
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the Application lacks information on the criminal complaint filed against the Company. (ECF
No. 2, at 8.) And as Cartograf USA points out, at least one district court has recently found that
where a requesting party failed to provide any details regarding the nature of a purported
criminal investigation for which the party needed the requested discovery, the discovery request
did not satisfy the “for use” statutory factor. (Mem. at 8, citing In re Application of Republic of
Turk for an Order Under 28 U.S.C. § 1782 to Conduct Discovery for Use in F oreign Legal
Proceeding, 2021 U.S. Dist. LEXIS 133119, *12-13 (N.D. Ill. July 16, 2021) (hereinafter “Jn re
Turkey”).) However, there, the requesting party hinged its “for use” argument entirely on “vague
and conclusory statements from two Turkish officials” regarding the purported criminal
investigation. Jd. at *13.

By contrast, the Banorte Parties devote several pages of the Application, along with the
declaration from the Banorte Parties’ Mexican counsel in the civil proceedings, and hundreds of
pages of Mexican proceeding court documents, to detail the civil proceedings for which the
discovery materials would be of use. (ECF No. 2 at 7-8; ECF No. 3 at 20-283.) What’s more,
the Banorte Parties have already (1) secured judicial relief in Mexico to pierce the corporate veil
of Cartograf, (2) obtained provisional injunctions to freeze the assets of Paramo and Cartogaf
and (3) brought civil enforcement proceedings to obtain compensation from alleged contractual
breaches. (ECF No. 2, at 7-8.) Though the criminal complaint gets scant attention from the
Banorte Parties, the evidence sought from Cartograf USA — business records detailing the
Company’s financial inflows and outflows and relationships with its parent company, Paramo
and related entities — appears closely related to the Banorte Parties’ claims against Paramo and
Cartograf in the ongoing civil proceedings. Similarly, the Court concludes that “there is a

reasonable possibility” that deposition testimony from Cartograf USA’s corporate representative
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“with knowledge of Cartograf USA’s dealings with Cartograf and Mr. Paramo,” (ECF No. 2, at
9) would “serve some use” to the Banorte Parties in the civil proceedings, as such testimony
would plausibly shed light on relevant funds and the concealment of sought-after assets. In re
Newbrook, 31 F.4th at 895. Accordingly, Cartograf USA’s analogy to Jn re Turkey is inapposite.

The Fourth Circuit’s In re Newbrook holding bears close examination on this point.
Vacating a district court’s dismissal of a motion to quash, the Fourth Circuit held that because
the district court “seemed to agree that some evidence sought was for use” in an overly
“speculative” foreign action, the district court erred by not restricting the subpoena’s evidence to
what would be “of use” in a separate foreign action that counted as a genuine “proceeding.” Jn
re Newbrook, 31 F.4th at 895 (emphasis added). The Fourth Circuit vacated the In re Newbrook
district court’s dismissal of the motion to quash after being unable to determine from the
complex record which components of the requested evidence related to the permissible
proceeding, as opposed to the impermissibly speculative one. Jd. (ruling that “[t]here may well
be some overlap between the two actions but satisfying the for-use condition required specifying
the evidence sought for the . . . the only qualifying foreign action,” because “[m]erely including
one permissible category cannot bless a list of other, impermissibly sought evidence”). Indeed, a
party subjected to a § 1782(a) subpoena should not have to “guess at which documents [the
requesting party] wants for which actions.” Jd.

But here, the Application and related filings lay out the Mexican civil actions in detail
and claim that Paramo has used Cartograf USA “to conceal assets belonging to Cartograf and
which would otherwise be subject to the Mexican courts’ orders.” (ECF No. 2, at 9.) While the
requested discovery materials may also be relevant to the unspecified criminal complaint, they

certainly appear to be “of use” to civil proceedings in which the Banorte Parties seek to locate

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and retrieve assets allegedly concealed by Paramo. See In re Application of Sadeq, 2021 WL
4844754, at *17 (M.D.N.C. Oct. 18, 2021) (noting “that the “for use’ factor imposes only a ‘de
minimis’ burden upon a Section 1782 applicant”) (emphasis in original). This is therefore not a
situation where the requesting party improperly blended different pieces of desired evidence into
an indecipherable stew. The nexus between the civil proceedings and requested information
appears to be sufficiently strong to satisfy the § 1782(a) statutory “of use” requirement.

B. Discretionary § 1782(a) Considerations

The Court now turns to the discretionary Inte/ factors. As noted above, the Court retains
wide discretion in applying and balancing these factors, which are:

“(1) the involvement of ‘the person from whom discovery is sought’ in the foreign

proceeding, (2) ‘the nature of the foreign tribunal, the character of the proceedings

underway abroad, and the receptivity of the foreign government, court or agency to U.S.

federal-court judicial assistance,’ (3) ‘whether the § 1782(a) request conceals an attempt

to circumvent foreign proof-gathering restrictions or other policies of a foreign country or

the United States,’ and (4) whether the request is ‘unduly intrusive or burdensome’ in

which case it ‘may be rejected or trimmed.’”
In re Newbrook, 31 F.4th at 896 (quoting Intel, 524 U.S. at 264-65). The Court already
determined that, pursuant to the Jnte/ factors, the Application made a compelling showing that
the subpoena to Cartograf USA should issue. (ECF No. 9, at 3.) However, because the Motion
argues that all four factors weigh in favor of quashing the subpoena, the Court revisits its
analysis and examines Cartograf USA’s arguments for each factor.

1. Participation in a Foreign Proceeding

If a party qualifies as a nonparticipant, this factor generally weighs in favor of granting

the requested discovery, whereas a party’s status as a participant in a foreign proceeding “would

militate against granting the requested assistance, because ‘[a] foreign tribunal has jurisdiction

over those appearing before it, and can itself order [the respondent] to produce evidence.’” Jn re

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Request for Jud. Assistance from the Dist. Ct. in Svitavy, Czech Republic, 748 F. Supp. 2d 522,
526 (E.D. Va. 2010) (hereinafter “Jn re Czech Republic’) (quoting Intel, 524 U.S. at 264).
Cartograf USA concedes that the Company is not a participant in foreign proceedings, but states
that its controlling shareholders — who the Company states have access to the requested
discovery — are. (Mot. at 9.) In Cartograf USA’s view, the Banorte Parties do not need a

§ 1782(a) application to obtain the requested materials, because they could simply seek the
evidence from the shareholders through the Mexican courts, which the Company argues are
better positioned to weigh the proper procedures at issue in evaluating Cartograf USA’s potential
rights to resist discovery. (/d. at 10.) To Cartograf USA, the Banorte Parties’ reliance on a U.S.
court for these materials raises questions about why they have not pursued this discovery request
in the Mexican court adjudicating their civil claims. (/d.) The Banorte Parties respond that

§ 1782(a) does not impose an exhaustion requirement on the requesting party, and that crediting
Cartograf USA’s arguments on this factor “would require this Court to analyze and reach
detailed conclusions about the scope of discoverable information, admissible criminal evidence
and the reach of the jurisdiction of Mexican courts.” (Opp. at 9.) In addition, they represent that
“Paramo has not cooperated in any aspect of the Mexican Proceedings and has instead absconded
from the jurisdiction of the Mexican courts to evade responsibility for his actions.” (Jd.)

As the Banorte Parties note, courts have repeatedly rejected requiring a party to exhaust
alternate avenues of discovery before resorting to a § 1782(a) application, as neither the statute
nor the Supreme Court in /nte/ mandated such an approach. (/d., citing Euromepa S.A. v. R.
Esmerian, Inc., 51 F.3d 1095, 1098 (2d Cir. 1995) (characterizing a party’s lack of exhaustion as
an “impermissible factor” for the court to consider); Jn re Veiga, 746 F. Supp. 2d 8, 24 (D.D.C.

2010) (“Section 1782(a) does not incorporate an exhaustion requirement, and an applicant is not

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required to first seek discovery from the foreign tribunal.”); In re Application of Imanagement
Servs. Lid., 2005 WL 1959702, at *5 (E.D.N.Y. Aug. 16, 2005); and Infineon Techs. AG v.
Green Power Techs. Ltd., 247 F.R.D. 1, 5 (D.D.C. 2005).) The fact that Cartograf USA’s
controlling shareholders qualify as participants in a foreign proceeding does not transform the
Company itself into a participant. Accordingly, the Court declines to break from the established
line of case law rejecting the judicial imposition of an exhaustion requirement on the party
requesting discovery in a § 1782(a) application. This factor therefore favors denying the Motion.
2. Receptivity to U.S. Judicial Assistance

Cartograf USA argues that “the nature of the foreign tribunal, the character of
proceedings underway abroad, and the receptivity of the foreign government court, or agency to
federal-court judicial assistance,” Intel, 542 U.S. at 264, weighs in favor of quashing the
subpoena. (Mot. at 10-11.) As the Court has already noted in its prior order, (ECF No. 9, at 4),
absent a clear directive or authoritative proof that the foreign tribunal would reject the evidence
obtained, courts generally conclude that the second Jntel factor counsels in favor of granting a
§ 1782 application. In re Chevron Corp., 2010 WL 4883111, at *3 (W.D. Va. Nov. 24, 2010)
(quoting Euromepa, 51 F.3d at 1100). On the other hand, if reliable evidence exists that the
foreign tribunal would not use the requested material at ail, “it may be irresponsible for a district
court to order discovery, especially where it involves substantial costs to the parties involved.”
In re Newbrook, 620 F. Supp. 3d at 311. Asserting that the Declaration of Ricardo Aguirre
Marin, (ECF No. 3), constitutes the Banorte Parties’ “only evidence” on this factor, Cartograf
USA emphasizes that Marin — the Banorte Parties’ attorney for the ongoing civil proceedings in

Mexico — “is neither a government official nor a public prosecutor.” (Mot. at 10-11.)

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To Cartograf USA, Marin’s status as an advocate for the Banorte Parties drains his
declaration of any persuasive value on the question of whether a Mexican tribunal would be
receptive to this Court’s assistance with discovery. (/d.) And to be sure, discovery requests that
come directly from foreign officials or tribunals carry greater weight on this factor. See, e.g., In
re Czech Republic, 748 F. Supp. 2d at 527 (finding that a foreign court exhibited clear
receptiveness to the assistance of a court within this District, when the request for assistance
came from the foreign court itself, “not by a litigant operating independently”); In re Turkey,
2021 U.S. Dist. LEXIS 13311, at *17 (‘The Republic of Turkey is receptive to this Court’s
assistance, as evidenced by a letter authored by the Turkish Ambassador . . . and a declaration
from Ankara’s public prosecutor.”).

But while Marin’s declaration generates less persuasive value than would a direct request
from the relevant Mexican authorities, the Court reiterates that Cartograf USA, not the Banorte
Parties, bears the burden on this factor. In the absence of “reliable evidence” that the Mexican
tribunal would not use any of the requested material, the second Jntel factor counsels in favor of
granting a § 1782 application. Jn re Newbrook, 620 F. Supp. 3d at 311; In re Chevron, 2010 WL
4883111, at *3. Cartograf USA returns to the “cursory” nature of the Banorte Parties’ references
to a criminal complaint, arguing that in the absence of detailed information about this criminal
complaint, the Court cannot ascertain enough about the foreign tribunal. (Mot. at 11.) But as
already discussed, the Application and related materials do provide copious details regarding the
civil proceedings for which the requested materials appear pertinent. The Court does not agree
that the absence of corresponding details regarding other litigation for which the requested
discovery materials may be relevant rises to the level of “reliable evidence” that the Mexican

courts would be unreceptive to this Court’s assistance.

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Furthermore, Cartograf USA’s contention that Marin’s inability to confirm that the
requested evidence will be admissible in Mexico does not bear on this factor. Jn re Czech
Republic, 748 F. Supp. 2d at 527 (“Indeed, the Supreme Court has instructed that the district
courts are to refrain from delving into the similarly technical question of discoverability under
foreign laws in considering a § 1782 request for judicial assistance.”). And while Cartograf USA
has failed to present a clear directive or authoritative proof that the foreign tribunal would reject
the evidence obtained, Jn re Chevron, 2010 WL 4883111, at *3, the Banorte Parties (who, again,
do not carry the burden on this factor) highlight numerous cases demonstrating Mexican courts’
general receptivity to U.S. courts’ assistance in discovery. (Opp. at 11, citing Jn re Rivada
Networks, 230 F. Supp. 3d 467 (E.D. Va. 2017); Bush v. Cardtronics, Inc., 2020 WL 6261694, at
*4 (S.D. Tex. Oct. 23, 2020); and Grupo Mexico Sab De CV, 2014 WL 12691097, at *3 (N.D.
Tex. Oct. 17, 2014).) The second factor therefore weighs in favor of the Banorte Parties.

3. Circumvention of Proof-Gathering Restrictions

Cartograf USA next argues that the Banorte Parties’ discovery request obscures what the
Company contends is their actual motive — gathering evidence for criminal proceedings against
Cartograf USA — thereby constituting “an attempt to circumvent foreign-proof-gathering
restrictions or other policies of a foreign country or the United States.” (Mot. at 11, citing Intel,
542 U.S. at 265.) Courts in this District have held that when a requesting party has already asked
for the same information before a foreign tribunal, the third Jnte/ factor weighs against granting
the § 1782(a) application. Jn re Eli Lilly & Co., 580 F. Supp. 3d 334, 342 (E.D. Va. 2022), affd,
37 F.4th 160 (4th Cir. 2022) (holding that the discovery request could be an attempt to
circumvent foreign discovery procedures); see also In re Newbrook, 620 F. Supp. 3d at 311

(concluding that a foreign court’s rejection of a discovery request on the same issue counsels

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against a U.S. court “granting of a similarly grounded request”). At the same time, this
circumvention factor “entails neither a discoverability requirement nor a quasi-exhaustion
requirement . . . that would force litigants to seek information through the foreign or international
tribunal before requesting discovery from the district court.” In re Newbrook Shipping Corp.,
2020 WL 6451939, at *6 (D. Md. Nov. 3, 2020) (cleaned up), overruled on other grounds by In
re Newbrook, 31 F.4th 889, 894 (4th Cir. 2022). Ultimately, as the Court noted in its prior order,
(ECF No. 9, at 4-5), the key consideration “in determining whether a petition is an effort to
circumvent foreign proof-gathering restrictions . . . is whether the discovery is being sought in
bad faith.” Chevron, 2010 WL 4883111, at *3.

Here, Cartograf USA points to the existence of the Mutual Legal Assistance Treaty
(“MLAT”) between Mexico and the Untied States, contending that the Banorte Parties seek to
bypass the MLAT to avoid scrutiny of their discovery request by the U.S. Department of Justice
(“DOJ”). (Mot. at 12.) MLATs between the United States and a foreign country enable law
enforcement authorities to obtain evidence for criminal investigations, prosecutions and
proceedings after the DOJ Criminal Division’s Office of International Affairs reviews the
discovery request. U.S. DEP’T. OF JUSTICE, Mutual Legal Assistance Treaties of the United
States (“MLATs”) (April 2022).* The DOJ review process “assures that the U.S. government's
expertise and analytic rigor is applied to the application, including to assure that the discovery is
not sought for ulterior (non-prosecutive) ends.” Fed. Republic of Nigeria v. VR Advisory Servs.,
Ltd., 499 F. Supp. 3d 3, 7-9 (S.D.N.Y. 2020). To Cartograf USA, the Application constitutes an

improper end run around the well-established MLAT process for sharing discovery in criminal

4 This DOJ guidance is available at https://perma.cc/8Z5P-LLW6.
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proceedings, given the apparent existence of a criminal complaint in Mexico arising out of the
alleged fraud by Paramo and the parent company Cartograf Mexico. (Mot. at 12-13.)

Cartograf USA overlooks that private parties cannot rely on MLATs, which are only
available for criminal law enforcement authorities.» Moreover, as the Court has discussed at
length, the Banorte Parties do not base the Application solely or even predominately on a
criminal proceeding. Instead, the Application and related exhibits provide a detailed record of
the ongoing civil proceedings for which the requested evidence appears to be “of use,” while
noting the existence of a criminal complaint. (ECF Nos. 1-3.) Cartograf USA spotlights the Jn
re Turkey district court’s warning that a requesting party’s use of a § 1782(a) application can
raise concerns about circumvention of the MLAT process when a party seeks material for a
criminal investigation. (Mot. at 12-13, citing Jn re Turkey, 2021 U.S. Dist. LEXIS 13311, at
*20-21.) But In re Turkey dealt with foreign prosecutors “seeking to use the American civil
legal process to investigate purported criminal activity supposedly undertaken in the United
States — and, to boot, matters that authorities in the U.S. declined to prosecute criminally,”
comprising “the exact scenario contemplated by the MLAT.” In re Turkey, 2021 U.S. Dist.
LEXIS 13311, at *19. Here, private parties seek information for ongoing civil proceedings in
Mexico, and Cartograf USA does not suggest that U.S. authorities declined to prosecute conduct
at issue. The MLAT pathway thus does not apply to this fact pattern.

Furthermore, the Banorte Parties represent that “Paramo has not cooperated in any aspect

of the Mexican Proceedings and has instead absconded from the jurisdiction of the Mexican

5 U.S. DEp’T. OF JUSTICE, Frequently Asked Questions Regarding Evidence Located
Abroad (last accessed Sept. 29, 2023), available at https://perma.cc/SJET-R2HH (“MLATs are
reserved for use by the criminal law enforcement authorities of the parties, which include
prosecutors and criminal investigators. MLATs are not available for use by private parties,
including criminal defendants.”).

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courts to evade responsibility for his actions.” (Opp. at 9.) In light of this alleged obstruction,
Cartograf USA does not persuade the Court that the same information would necessarily be
available in Mexico. Cf CFE Int'l LLC v. Denham Cap. Mgmt. LP, 2023 WL 2988745, at *8 (D.
Mass. Mar. 6, 2023) (ruling that where subpoenas “seek documents and testimony that seemingly
would be available from individuals and entities in Mexico,” this fact signals “an attempt to
circumvent proof-gathering restrictions”). The Company also has not presented evidence that
the Mexican civil courts have deemed the Banorte Parties’ claims to be meritless or previously
denied their requests for these discovery materials, which would have tipped this factor toward
Cartograf USA. In re Elliott Assocs. L.P., 2022 WL 1159692, at *4 (W.D.N.C. Apr. 19, 2022).
Nonetheless, Cartograf USA contends that the third Jntel factor supports quashing the
subpoena, because the Banorte Parties aim to circumvent the Company’s constitutional privilege
against self-incrimination in Mexico. (Mot. at 13-14.) In support, Cartograf USA filed a legal
opinion from a Mexican law firm, Schutte & Delsol Gojon, analyzing Mexican criminal statutes
and legal authority to conclude that compelling “an individual and/or legal entity” in a
jurisdiction where they are not facing criminal charges to provide information that could be used
against them in a Mexican criminal proceeding would implicate the Mexican right against self-
incrimination. (ECF No. 17-2, at 4.) According to the opinion from Schutte & Delsol Gojon,
this privilege extends beyond criminal matters to situations where a defendant confesses to
criminal wrongdoing before a different tribunal. (/d. at 3.) Cartograf USA argues that, because
criminal proceedings against Paéramo — Cartograf USA’s officer, director and beneficiary —
exist in Mexico, the requested materials here would be undiscoverable if subpoenaed in Mexico,
as discovery would violate the Company’s privilege under Mexican law to not incriminate itself

or its officers and directors. (Reply at 5.) To Cartograf USA, the Application thus constitutes an

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impermissible attempt to circumvent privilege-based restrictions on proof-gathering in Mexico.
(Mot. at 11.) In response, the Banorte Parties argue that Cartograf USA’s privilege argument
regarding the right against self-incrimination does not align with the text of § 1782, and that in
any case, the Court does not need to (and should not) resolve the question of what information
could be discoverable by a Mexican tribunal. (Opp. at 7-8.)

Cartograf USA correctly points out that the statute’s text stipulates that “[a] person may
not be compelled to give his testimony or statement or to produce a document or other thing in
violation of any legally applicable privilege.” (Reply at 4, citing 28 U.S.C. § 1782(a)) (emphasis
added by Reply). The Court therefore considers whether “any legally applicable privilege”
encompasses privileges in foreign proceedings, i.e., whether § 1782 and the third Jnte/ factor
require the Court to assess the merits of Cartograf USA’s argument regarding Mexican legal
privilege doctrine.

In Intel, the Supreme Court, while noting that § 1782(a) “expressly shields privileged
material,” held that the statute does not impose a blanket requirement that sought-after evidence
be discoverable under laws governing a foreign proceeding. /nte/, 542 U.S. at 260. But courts
have disagreed on whether § 1782(a) requires federal district courts to shield material falling
under a foreign legal privilege. Compare In re Grand Jury Proc., Doe No. 700, 817 F.2d 1108,
1112 (4th Cir. 1987) (§ 1782(a) “forbids the taking of testimony in violation of any privilege,
including the Philippine privilege against self-incrimination”) (emphasis added), with Jn re
Request from Canada Pursuant to Treaty Between the U.S. & Canada on Mut. Legal Assistance
in Crim. Matters, 155 F. Supp. 2d 515, 518 (M.D.N.C. 2001) (finding that “[w]hether ‘any
legally applicable privilege’ includes foreign privileges is a matter of debate”); id. at 520

(holding that the relevant “depositions should be taken and [foreign] courts can later, if

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necessary, determine the admissibility of this discovery”). Notably, the Fourth Circuit’s
instruction in 1987 that “any privilege” pursuant to § 1782(a) included a foreign country’s
privilege against self-incrimination was not actually dispositive in that case.° In re Grand Jury
Proc. predated Intel, where the Supreme Court explicitly overruled multiple other circuits’
holdings that the statue imposed a foreign-discoverability requirement, but nonetheless did not
resolve this foreign privilege question. Intel, 542 U.S. at 253. And since Jntel, neither the
Fourth Circuit nor a district court within this circuit has appeared to revisit the Jn re Grand Jury
Proc. panel’s cursory reference to § 1782(a) directly encompassing a foreign privilege.

After Intel, however, courts outside the Fourth Circuit have concluded that the
prohibition of § 1782(a) against violating any privilege extends to foreign privileges. See
Ecuadorian Plaintiffs v. Chevron Corp., 619 F.3d 373, 378 (Sth Cir. 2010) (holding that “the
legislative history of 28 U.S.C. § 1782 suggests that parties may rely on foreign privileges to
shield information from discovery in the United States”); Baumer v. Schmidt, 423 F. Supp. 3d
393, 406 (E.D. Mich. 2019) (approvingly citing Jn re Grand Jury Proc., 817 F.2d at 1112, and
Ecuadorian Plaintiffs, 619 F.3d at 378); Midwest Feeders, Inc. v. Bank of Franklin, 2016 WL
7422560, at *5 n.7 (S.D. Miss. May 16, 2016) (acknowledging the Fifth Circuit’s holding in
Ecuadorian Plaintiffs, 619 F.3d at 378); In re Tinsel Grp., S.A. for An Ord. Directing Discovery
in Aid of Foreign Proceeding Pursuant to 28 U.S.C. Sec. 1782, 2014 WL 243410, at *2 (S.D.

Tex. Jan. 22, 2014) (same).

6 The In re Grand Jury Proc. panel held that § 1782(a) did not apply to the subpoenas at
issue in the case, because they arose from a federal grand jury subpoena, and therefore the
Philippine privilege against self-incrimination did not apply. In re Grand Jury Proc., 817 F.2d at
1112.

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In the absence of recent guidance from the Fourth Circuit, the Court finds this line of case
law persuasive and concludes that § 1782(a) shields from discovery materials that clearly fall
under a foreign privilege. At the same time, courts since Jntel have disfavored wading into
admissibility or discoverability disputes regarding foreign privilege law, absent “authoritative
proof” that the discovery request violates a legal privilege. See Ecuadorian Plaintiffs, 619 F.3d
at 378 (ruling that “[t]o avoid speculative forays into legal territories unfamiliar to federal
judges, parties must provide authoritative proof that a foreign tribunal would reject evidence
because of a violation of an alleged foreign privilege”); In re Veiga, 746 F. Supp. od at 26
(noting that “courts have concluded that the statute's protection extends to privileges recognized
by foreign law, but consonant with courts’ reticence to delve into complex questions of foreign
law, parties are generally required to provide clear and authoritative proof that a foreign tribunal
would reject evidence pursuant to a foreign privilege.”). Moreover, courts have found that
providing an affidavit from foreign counsel “who expounds on general principles of [foreign]
privilege law” does not constitute “authoritative proof,” in the absence of “any judicial,
executive, or legislative declaration that clearly demonstrates that allowing discovery in this case
would offend [foreign] judicial norms.” In re Tinsel Grp., 2014 WL 243410, at *2.

The Court therefore examines whether Cartograf USA has “clearly and definitively
established” that the requested discovery here would violate Mexico’s privilege against self-
incrimination. Jd. The Court finds that Cartograf USA has not done so. The opinion from
Schutte & Delsol Gojon that Cartograf USA offers to bolster its privilege argument “expounds
on general principles of [Mexican] privilege law,” id., through explaining that all defendants —
both individuals and legal entities — possess a right against self-incrimination in Mexico. (ECF

No. 17-2, at 2.) But beyond high-level explanation of this principle, the law firm equivocates,

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characterizing as its “opinion” that “seeking to compel an individual and/or legal entity in a
jurisdiction where they are not the subject of criminal charges to provide information that
ultimately will, or could, be used against them in a criminal proceeding in Mexico” violates
privilege. (Jd. at 4.) The firm concedes that “there is not much judicial precedent” on the
specific circumstances raised by Cartograf USA’s situation, stating that “certain rules and canons
of interpretation are to be considered.” (Jd. at 3.)’

Accordingly, because Cartograf USA has “not pointed to any ‘judicial, executive or
legislative declaration’ that clearly demonstrates that allowing discovery in this case would
offend [Mexican] judicial norms,” the Schutte & Delsol Gojon opinion, standing alone, does not
persuade the Court. Ecuadorian Plaintiffs, 619 F.3d at 378. To be sure, Cartograf USA has
raised plausible arguments regarding potential circumvention of proof-gathering restrictions in
Mexico. But absent “authoritative proof” that the subpoena would violate Cartograf USA’s
privileges under Mexican law, the Court refrains from a “speculative foray,” Ecuadorian
Plaintiffs, 619 F.3d at 378, that would involve “delving into the . . . technical question of
discoverability under foreign laws in considering a § 1782 request for judicial assistance.” Jn re
Czech Republic, 748 F. Supp. 2d at 527. While not conclusively in favor of either party, the

third Jntel factor therefore leaves the Court unpersuaded that the subpoena merits quashing.

? The firm’s equivocations go further. (ECF No. 17-2, at 3) (stating that Mexico’s
“Supreme Court drew a distinction between the confession of a criminal act, considering it
covered by this right [against self-incrimination], and the provision of incriminatory evidence in
general, which it ruled as not covered by this right once it has been legally obtained and becomes
part of a proceeding”); (id. at 4) (stating that “it may be necessary to argue and demonstrate that
the foreign legal entity has a plausible legal contingency to become . . . a defendant, within the
Mexican criminal proceedings, or, that the fact that the defendant is the ultimate shareholder of
said legal entity is reason enough for said entity to be covered by defendant’s right against self-
incrimination, taking into account the aforementioned principles”) (emphasis added).

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4, Unduly Burdensome or Intrusive Discovery

As to the fourth Jnte/ factor, “[rJequests are unduly intrusive and burdensome where they
are not narrowly tailored, request confidential information and appear to be a broad fishing
expedition for irrelevant information.” In re P.T.C. Prod., AG, 2020 WL 7318100, at *2
(cleaned up). For example, if a “substantial volume of data and materials” requested lies outside
the federal court’s district or the United States, the fourth Jnte/ factor counsels against discovery,
as bringing these materials “into the United States for subsequent use in proceedings abroad”
would constitute “a nonsensical result.” In re Eli Lilly, 37 F.4th at 168. Indeed, “§ 1782
discovery should be denied where an applicant “can obtain the information from other sources
without imposing a burden’ on a non-party to the foreign action.” In re Elliott, 2022 WL
1159692, at *4 (cleaned up). However, a party’s showing that the requested documents qualify
as necessary to support its claims in the foreign proceeding weighs in favor of granting a
§ 1782(a) application. Jn re Catalyst Managerial Servs., DMCC, 680 F. App'x 37, 39 (2d Cir.
2017). And recently, the Eleventh Circuit held that where a U.S. company and Mexican entities
shared common ownership and close business ties, § 1782 discovery did not qualify as unduly
burdensome, because the U.S. business entity exercised requisite “control” over documents
within the Mexican entities’ physical possession or custody. Gonzalez v. Verfruco Foods, Inc.,
2023 WL 1794391, at *3 (11th Cir. Feb. 7, 2023) (“Sufficient ‘control’ may be established for
discovery purposes by showing that ‘affiliated corporate entities . . . have actually shared
responsive information and documents in the normal course of their business dealings.””).

Cartograf USA argues that the Banorte Parties can use the Mexican legal proceedings to
access all documents related to Cartograf Mexico and Paramo, as Mexican law permits release of

a subsidiary’s records by a parent company. (Mot. at 17.) The Company also states that it has

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no current employees and that its records are not in Virginia, (id.), while characterizing the
Banorte Parties’ requests as “both intrusive and overly broad,” because they ask for “any and all”
documents between Cartograf USA and an array of entities and individuals, (id. at 14-16). The
Banorte Parties do not contest Cartograf USA’s statement that the Company does not keep its
records in Virginia. Especially when evaluated along with the Company’s claim that Cartograf
Mexico — a party in the Mexican proceedings — could access the requested records, Cartograf
USA’s point about the lack of records in this District lends strength to its position on this Intel
factor. In re Eli Lilly., 37 F.4th at 168.

At the same time, the Banorte Parties’ allegation that Paramo has not cooperated with the
ongoing Mexican proceedings and has “absconded from the jurisdiction of the Mexican courts,”
(Opp. at 9), creates at least some doubt that the Banorte Parties “‘can obtain the information from
other sources without imposing a burden’ on a non-party to the foreign action.” In re Elliott,
2022 WL 1159692, at *4. And the Court has already determined that the requested information,
which would likely shed light on Cartograf USA’s corporate governance and financial inflows
and outflows, appears integral to ongoing civil actions, because the Banorte Parties have alleged
that Paramo used his various business entities to shield money he owed. (Opp. at 12.) And
while the Court agrees with Cartograf USA that the discovery request casts a relatively sweeping
net, the Application does tie each document category to Cartograf Mexico and Paramo.

In exercising its wide discretion in analyzing a § 1782(a) application, Jn re Naranjo, 768
F.3d at 347, the Court balances the relatively high burden that the subpoena presents to this U.S.
subsidiary with the uncertainties surrounding the ongoing Mexican proceedings, and finds that
the fourth Jntel factor tilts slightly in favor of Cartograf USA. Given the Fourth Circuit’s

instructions that not every factor must weigh in favor of one side, In re Eli Lilly, 37 F.4th at 168,

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and that district courts bear responsibility for the ultimate balancing of the discretionary factors,
the Court concludes that Cartograf USA’s arguments on the Jntel factors do not require
disruption of the Court’s prior finding, (ECF No. 9), that the Banorte Parties have satisfied the
standard for granting their Application, subject to the following exclusion.

Cartograf USA specifically takes issue with the Banorte Parties’ request for the
Company’s tax records, which Cartograf USA contends the Court should shield under the
qualified privilege for tax returns articulated by Eastern Auto Distributors, Inc. v. Peugeot
Motors of America, Inc., 96 F.R.D. 147, 149 (E.D. Va. 1982). (Reply at 6.) As this Court has
subsequently reiterated, “[r]elevant case law reveals that there is a ‘qualified privilege vee
disfavor[ing] the disclosure of income tax returns as a matter of general federal policy.’”
Reuben-Cooke v. Bd. of Trustees of Univ. of the D.C., 2009 WL 10730782, at *1 (E.D. Va. Apr.
10, 2009) (citing Eastern Auto Distributors, 96 F.R.D. at 148-49). In applying this qualified
privilege, this Court has employed a two-prong test to assess when a party seeking discovery can
overcome the privilege: (1) the requesting party must show that the tax returns contain specific
information with relevance to the subject matter at issue; and (2) the Court then determines
whether a compelling need exists for the information, because the requesting party cannot obtain
it elsewhere. Reuben-Cooke, 2009 WL 10730782, at *1. On the second step, the burden shifts to
the party opposing discovery to identify an alternate means for obtaining the information. Jd.

The Application already seeks plenty of other sources of detailed financial information
that could likely shed light on the alleged concealment of assets by Paéramo, including Cartograf
USA’s bank account and assets; exchanges with business entities associated with the Company;
payments and other transfers between Cartograf USA and related entities; and “any other sources

of funds or liabilities of Cartograf USA.” (ECF No. 8-9.) The Banorte Parties do not even

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respond to Cartograf USA’s objection that the tax records fall under the Eastern Auto
Distributors qualified privilege, nor do they explain why the tax records specifically qualify as
relevant here. (Reply at 6.) Accordingly, in light of the general presumption against disclosing
tax records and based on the absence of any attempt by the Banorte Parties to rebut this
presumption, the Court finds that Cartograf USA’s tax records qualify for protection from
disclosure. Reuben-Cooke, 2009 WL 10730782, at *1.

The Court retains the power to tailor a discovery order to account for the tax records’
exclusion. See, e.g., Mees v. Buiter, 793 F.3d 291, 302 (2d Cir. 2015) (holding that “it is far
preferable for a district court to reconcile whatever misgivings it may have about the impact of
its participation in the foreign litigation by issuing a closely tailored discovery order rather than
by simply denying relief outright’); Jn re Newbrook, 620 F. Supp. 3d at 313 (noting that the
court could grant a § 1782(a) application while limiting it to a particular request). The Court will
therefore carve out the tax records from the rest of the Application here.

IV. CONCLUSION

For the foregoing reasons, the Court will hereby DENY in part the Motion to Quash the
Subpoena against Cartograf USA, (ECF No. 16), and GRANT in part the Motion with respect to
Cartograf USA’s tax records.

Let the Clerk file a copy of this Memorandum Opinion electronically and notify all
counsel of record.

An appropriate Order shall issue.

/s/

David J. Novak
United States District Judge

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Richmond, Virginia
Date: October 12, 2023

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